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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CRIMINAL CASE NO: 1:21-CR-00382-PLF
                                           )
CHRISTOPHER WARNAGIRIS                     )
                                           )
         DEFENDANTS.                       )
__________________________________________)

      DEFENDANT’S PETITION TO DISCLOSE GRAND-JURY MATERIALS
———————————————————————————————————————


       Pursuant to Fed. R. Crim. Pro. 6(e)(3)(E) and the Order of this Court dated October 13,

2021, ECF No. 24, the defendant petitions this court to disclose to him and his counsel the sealed

Grand Jury materials from each of his indictments.

       Christopher Warnagiris was charged originally by an indictment filed on June 2, 2021.

ECF No. 8. It was superseded by an indictment filed on December 1, 2021. ECF No. 25. The

Superseding Indictment was superseded once again by an indictment filed on March 22, 2023.

ECF No. 49.

       On October 13, 2021, this Court granted the Government’s unopposed motion, ECF No.

23, to provide Grand Jury materials to the defendant. See ECF No. 24.

       A year and a half later, the Government has yet to provide any Grand Jury materials to

the defendant.

       Alarmingly, the original Indictment and the Superseding Indictment both accused Mr.

Warnagiris of causing an injury to Officer A. W., while the second Superseding Indictment



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removed this accusation. Counsel for the Government explained in ECF No. 51 — “The

language of Count Three, in the superseding indictment, read Defendant Warnagiris ‘did . . .

inflict bodily injury on’ a specified member of the United States Capitol Police. The inclusion of

‘inflict bodily injury on’ was a mistake. The language has been struck by a second superseding

indictment filed March 22, 2023.” This is a very unusual “mistake” for Government counsel to

make. The defendant thus seeks to review the evidence presented to the Grand Jury in each of the

three proceedings; evidence presented to the grand jury that caused indictment on a “mistake” is

exculpatory.

       Moreover, the defendant has brought to this Court’s attention in multiple filings and at

oral argument that the Government has charged two men for an act committed by one man on

Officer A.W. As the defense explained with still images in ECF No. 45, video evidence provided

by the Government depicts Mr. Warnagiris his back turned to Officer A.W., both of his hands on

the East Rotunda door, none on the officer, while a man in a burgundy beanie had his hands on

Officer A.W. and is seen performing the acts that the Government attributes to Mr. Warnagiris.

This individual in the burgundy beanie has been apprehended and charged with assaulting

Officer A.W. for the same act attributed to Mr. Warnagiris. See United States v. Kaleb Dillard,

Case No. 2:22-mj-00341, Document 1-1, (D.D.C. August 23, 2022). Mr. Warnagiris, however,

continues to face charges for this alleged act in the second Superseding Indictment's Count

Three. Clearly, under these circumstances, the presentation to the Grand Jury is exculpatory.

       Finally, the defendant has the right to be tried on the same charges found by the grand

jury. Stirone v. United States, 361 U.S. 212 (1960); Russell v. United States, 369 U.S. 749 (1962);

Gaither v. United States, 413 F.2d 1061 (D.C. Cir. 1969). The defendant will require the Grand


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Jury materials for the preparation of pretrial motions and motions in limine pursuant to Stirone,

Russell, and Gaither to enforce his rights.

       Therefore, the defendant seeks for all sealed Grand Jury materials, including transcripts

and exhibits, from each of the three indictments pertaining to his case, to be disclosed to his

counsel within seven days, in compliance with the protections ordered by this court on October

13, 2021, in ECF No. 24.




                                              Respectfully submitted,

                                              By Counsel:

                                                     /s/
                                              MARINA MEDVIN, ESQ.
                                              Counsel for Defendant
                                              MEDVIN LAW PLC
                                              916 Prince Street
                                              Alexandria, Virginia 22314
                                              Tel: 888.886.4127
                                              Email: contact@medvinlaw.com



                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on May 18, 2023, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                    /s/
                                              Marina Medvin, Esq.




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